Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 1 of 20




                         EXHIBIT 1
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 2 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 3 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 4 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 5 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 6 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 7 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 8 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 9 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 10 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 11 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 12 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 13 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 14 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 15 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 16 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 17 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 18 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 19 of 20
Case 1:21-cr-00670-CJN Document 182-1 Filed 01/04/23 Page 20 of 20
